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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RAHAMON ROBERTS,                              :
    Plaintiff                                 :           No. 1:21-cv-00958
                                              :
             v.                               :           (Judge Kane)
                                              :
J. LUTHER, et al.,                            :
      Defendants                              :

                                         ORDER

      AND NOW, on this 10th day of November 2021, in accordance with the Memorandum

issued concurrently with this Order, IT IS ORDERED THAT:

      1.     The Clerk of Court is directed to add C.O. Sheets and C.O. Webb to the docket as
             Defendants in the above-captioned action; and counsel is directed to enter a notice
             of appearance on their behalf;

      2.     The Clerk of Court is directed to amend the docket to reflect the proper spelling
             of Defendant Frock’s name;

      3.     Defendants’ motion to dismiss (Doc. No. 9) is GRANTED IN PART and
             DENIED IN PART, as follows:

             a. The motion is GRANTED with respect to: (1) Plaintiff’s claims for
                declaratory relief; and (2) Plaintiff’s damages claims against Defendants in
                their official capacities. Plaintiff may not file an amended complaint with
                respect to such claims;

             b. The motion is DENIED with respect to all other claims, namely: (1)
                Plaintiff’s claims against Defendants Luther and Goss; and (2) Plaintiff’s
                Eighth Amendment claims regarding the use of OC spray on March 31, 2020,
                May 10, 2020, June 5, 2020, and June 8, 2020;

      4.     Defendants are directed to file an answer to Plaintiff’s complaint (Doc. No. 1)
             within fourteen (14) days of the date of this Order;

      5.     The parties are directed to complete discovery within six (6) months of the date
             on which Defendants file their answer; and
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6.    The parties are directed to file dispositive motions within sixty (60) days of the
      date on which discovery closes.

                                                    s/ Yvette Kane
                                                    Yvette Kane, District Judge
                                                    United States District Court
                                                    Middle District of Pennsylvania




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